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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

DETROIT WILL BREATHE,
TRISTAN TAYLOR, NAKIA WALLACE,                        Case No.
JAZTEN BASS, LAUREN ROSEN, LAURYN                     Hon:
BRENNAN, AMY NAHABEDIAN, ZACHARY
KOLODZIEJ, LAUREN BRANCH,
LILLIAN ELLIS, OLIVIA PUENTE,
IMAN SALEH, MARGARET HENIGE,
CAYLEE ARNOLD, and ALEXANDER ANEST,

            Plaintiffs,
vs.

CITY OF DETROIT, a municipal corporation,
MAYOR MICHAEL DUGGAN, acting in his official
and individual capacities, CHIEF JAMES CRAIG, acting in his official
and individual capacities, OFFICER STEPHEN ANOUTI, SERGEANT
TIMOTHY BARR, OFFICER DAVID HORNSHAW, OFFICER MARIAH
ERARD, and OFFICER DOES 1-100 inclusive,
acting in their respective individual capacities, all jointly and severally,

             Defendants.
__________________________________________________________________/
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 Amanda M. Ghannam (P83065)        Julie H. Hurwitz (P34720)
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 Co-counsel for Plaintiffs
__________________________________________________________________/

               VERIFIED COMPLAINT FOR DAMAGES
          AND FOR DECLARATORY AND INJUNCTIVE RELIEF

                       There is no other civil action pending
                       in this Honorable Court or any other
                       Court arising out of the same
                       transaction and occurrence.

      NOW COME Plaintiffs, Detroit Will Breathe, Tristan Taylor, Nakia Wallace,

Jazten Bass, Lauren Rosen, Lauryn Brennan, Amy Nahabedian, Zachary Kolodziej,

Lauren “Graham” Branch, Lillian Ellis, Olivia Puente, Iman Saleh, Margaret

Henige, Caylee Arnold, and Alexander Anest (“Plaintiffs”) for their Complaint

against the Defendants City of Detroit, Mayor Michael Duggan, Chief James Craig,

Officer Stephen Anouti, Officer David Hornshaw, Officer Mariah Erard, Sergeant

Timothy Barr, and Officer Does 1-100 inclusive, in their individual capacities and

official capacities pursuant to Monell v. Department of Social Services, 436 U.S. 658

(1978) and state as follows:




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                                 INTRODUCTION

      1.     The death of George Floyd at the hands of Minneapolis police officers

on May 25, 2020 sparked ongoing nationwide protests against unjustified police

violence and systemic racism. Since May 29, 2020, Plaintiffs, along with hundreds

of others, have participated in daily demonstrations in Detroit. Defendant Police

Officers, all acting in their individual capacities and pursuant to the customs, policies

and/or practices of Defendant City of Detroit, by and through the Detroit Police

Department (hereafter “DPD”), and Defendants Duggan and Craig, who authorize

and condone the use of unnecessary, unreasonable, and excessive force, have

repeatedly responded with violence and brutality.

      2.     Beginning on May 29, 2020, the first night of protests, peaceful

protesters, including Plaintiffs, were, among other things, tear-gassed, pepper-

sprayed, beaten and otherwise subjected to unconstitutional excessive force, shot

with rubber bullets, blasted with deafening and disorienting sound cannons and flash

grenades, put in chokeholds, cordoned off in small groups (“kettled”), and arrested

en masse without probable cause, by Defendant Officers, all acting within the scope

of their respective authorities and pursuant to the customs, policies or practices of

Defendants City of Detroit, Duggan and/or Craig and all in violation of Plaintiffs’

rights under the United States Constitution and laws of the State of Michigan.




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      3.     In the months since, Plaintiff Detroit Will Breathe has continued to lead

peaceful protests on a near-daily basis. Each of the more than 90 protests have been

widely publicized on social media and some have been widely broadcast on live

television and social media by local news organizations.

      4.     DPD has repeatedly reverted to brutal tactics to punish and abuse

peaceful protesters, including Plaintiffs, all pursuant to the customs, policies and/or

practices of Defendants City of Detroit, Duggan and/or Craig.

      5.     In response to the continued protests, Defendants escalated their use of

unlawful force with new and increasingly violent tactics.

      6.     On June 28, 2020, several Defendant Officers Doe drove their police

vehicles into a group of highly recognizable protest leaders, including Plaintiff

Jazten Bass, causing injury.

      7.     On July 10, 2020, Defendant Doe Officers, all acting within the scope

of their respective authorities and pursuant to the customs, policies or practices of

Defendants City of Detroit, Duggan and/or Craig, again resorted to the use of

dangerous chokeholds, teargas, and other excessively forceful means of crowd

control and unlawful arrests in response to peaceful protests over the killing of

Hakim Littleton, a Black civilian, by members of the DPD.

      8.     On August 22, 2020, Defendants again responded to the presence of

peaceful demonstrators, including Plaintiffs, with pepper spray, tear gas,


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chokeholds, brutal beatings, and mass arrests. Multiple demonstrators were

hospitalized, and legal observers, members of the press, and bystanders were

severely beaten and arrested, prompting numerous calls for an independent

investigation.

      9.     Defendants responded with unjustified violence to these protests in

direct reaction to the fact that the protests confront the racial disparity in police

violence and the systemic racism that pervades our society. By contrast, DPD has

protected other protesters in recent history — including protests led by white

supremacists -- rather than subjecting them to arbitrary curfews, excessive force, and

unlawful arrests. Defendants’ treatment of racial justice demonstrators based on the

racial content of their message violates their rights pursuant to the First Amendment,

Fourth Amendment, and 42 U.S.C. § 1981.

      10.    This civil rights action arises out of Defendants’ unlawful practices as

described above. Plaintiffs seek relief for violations, under color of state law, of their

rights, privileges and immunities secured by the First, Fourth, Fifth and Fourteenth

Amendments to the United States Constitution, pursuant to the Civil Rights Act of

1871, 42 U.S.C. §1981 and 1983.

      11.    Plaintiffs seek declaratory relief and immediate temporary and

permanent injunctive relief prohibiting Defendants from continuing their patterns

and/or practices of perpetrating illegal and unconstitutional violence and unlawful


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arrests against peaceful protesters seeking police accountability and racial justice.

The failure to provide such relief will result in these unlawful practices continuing,

thereby causing irreparable harm to Plaintiffs, for which no plain, adequate, or

complete remedy at law is otherwise available.

                             JURISDICTION AND VENUE

       12.       This Court has subject matter jurisdiction over the Plaintiffs’ claims

pursuant to 28 U.S.C. § 1331 (federal question) and 28 U.S.C. § 1343 (civil rights

jurisdiction).

       13.       This Court has jurisdiction to issue injunctive and declaratory relief

pursuant to 28 U.S.C. § 2201 and 2202 and Fed. R. Civ. P. 57 and 65.

       14.       Venue is proper in the Eastern District of Michigan pursuant to 28

U.S.C. § 1391, as most or all events giving rise to the claims herein occurred in the

Eastern District of Michigan.

                                        PARTIES

       15.       Plaintiff Detroit Will Breathe (“DWB”) is a domestic nonprofit

corporation organized under the laws of the State of Michigan. DWB is one of the

organizers of the protests subjected to unconstitutional violence and continues to

organize daily protests at which the ongoing risk of similar violence is ever present.




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      16.    Plaintiff Tristan Taylor (“T. Taylor”) is an individual and a resident of

Detroit, MI. T. Taylor is a leader and member of DWB. At all relevant times, T.

Taylor has participated in and been one of the organizers of the demonstrations.

      17.    Plaintiff Nakia Wallace (“N. Wallace”) is an individual and a resident

of Detroit, MI. N. Wallace is a leader and member of DWB. At all relevant times,

N. Wallace has participated in and been one of the organizers of the demonstrations.

      18.    Plaintiff Jazten Bass (“J. Bass”) is an individual and a resident of

Detroit, MI. J. Bass is a leader and member of DWB. At all relevant times, J. Bass

has participated in and been one of the organizers of the demonstrations.

      19.    Plaintiff Lauren Rosen (“L. Rosen”) is an individual and a resident of

Oak Park, MI. L. Rosen is a leader and member of DWB. At all relevant times, L.

Rosen has participated in and been one of the organizers of the demonstrations.

      20.    Plaintiff Lauryn Brennan (“L. Brennan”) is an individual and Michigan

resident. L. Brennan has participated in the demonstrations starting on or about June

4, 2020.

      21.    Plaintiff Amy Nahabedian (“A. Nahabedian”) is an individual and a

resident of Highland Park, MI. At all relevant times, A. Nahabedian has participated

in the demonstrations as a volunteer medic.




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      22.    Plaintiff Zachary Kolodziej (“Z. Kolodziej”) is an individual and a

resident of Detroit, MI. Z. Kolodziej participated in the demonstrations starting on

or about May 29, 2020.

      23.    Plaintiff Lauren Branch (a/k/a and hereinafter “Graham Branch” or “G.

Branch”) is an individual and a resident of Saline, MI. At all relevant times, G.

Branch has participated in the demonstrations as a volunteer medic.

      24.    Plaintiff Lillian Ellis (“L. Ellis”) is an individual and a resident of

Ypsilanti, MI. At all relevant times, L. Ellis has participated in the demonstrations.

      25.    Plaintiff Olivia Puente (“O. Puente”) is an individual and a resident of

Detroit, MI. O. Puente participated in the demonstrations starting on or about July

10, 2020.

      26.    Plaintiff Iman Saleh (“I. Saleh”) is an individual and a resident of

Dearborn, MI. At all relevant times, I. Saleh has participated in the demonstrations.

      27.    Plaintiff Margaret Henige (“M. Henige”) is an individual and a resident

of Detroit, MI. At all relevant times, M. Henige has participated in the

demonstrations.

      28.    Plaintiff Caylee Arnold (“C. Arnold”) is an individual and a resident of

Southeast Michigan. C. Arnold participated in the demonstration starting on or about

August 22, 2020.




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       29.    Plaintiff Alexander Anest (“A. Anest”) is an individual and a resident

of Southeast Michigan. A. Anest served as a volunteer medic at the demonstration

on August 22, 2020.

       30.    Defendant City of Detroit is a municipal corporation duly organized

and existing under the Constitution and laws of the State of Michigan. It is, and has

been at all times relevant hereto, authorized by law to maintain and operate the

Detroit Police Department (“DPD”). By and through its agents, including but not

limited to the Mayor, the Chief of Police, its supervisors, operating officers, Boards,

Commissions, and Committees and its final policymakers, Defendant City, at all

times relevant hereto, acting through its official policy makers, established,

promulgated and implemented the policies, customs and practices, written and

unwritten, of the DPD, with regard to hiring, training, supervision, discipline of the

employees of said department, as well as the Departmental response to protected

protest activity.

       31.    Defendant Mayor Michael Duggan is and was, at all relevant times, the

Mayor of Detroit and an official policymaker for Defendant City of Detroit and was

personally involved in the decisions that caused the harm giving rise to this litigation.

He is sued in his individual and official capacities.

       32.    Defendant Chief James Craig is and was, at all relevant times, the

Police Chief for the Detroit Police Department, an official policymaker for DPD,


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and was personally involved in the decisions that caused the harm giving rise to this

litigation. He is sued in his individual and official capacities.

      33.    Defendant Officer Stephen Anouti is a police officer with the DPD.

Upon information and belief, he is a resident of Wayne County, Michigan and at all

relevant times was employed by the City of Detroit, specifically DPD, as a police

officer, and acting pursuant to his authority on its behalf. He is sued in his individual

capacity.

      34.    Defendant Sergeant Timothy Barr is a police sergeant with the DPD.

Upon information and belief, he is a resident of Wayne County, Michigan, and at all

relevant times was employed by the City of Detroit, specifically DPD, as a police

officer, and acting pursuant to his authority on its behalf. He is sued in his individual

capacity.

      35.    Defendant Officer David Hornshaw is a police officer with the DPD.

Upon information and belief, he is a resident of Wayne County, Michigan and at all

relevant times was employed by the City of Detroit, specifically DPD, as a police

officer, and acting pursuant to his authority on its behalf. He is sued in his individual

capacity.

      36.    Defendant Officer Mariah Erard is a police officer with the DPD. Upon

information and belief, she is a resident of Wayne County, Michigan and at all

relevant times was employed by the City of Detroit, specifically DPD, as a police


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officer, and acting pursuant to her authority on its behalf. She is sued in her

individual capacity.

      37.    Plaintiffs are informed, believe, and thereupon allege that Officers Doe

1 through 100 were the agents, servants, and employees of Defendant City of Detroit

and/or the DPD. Plaintiffs are unaware of the true names and capacities of

Defendants sued herein as Does 1 through 100, inclusive, and therefore sue these

Defendants by such fictitious names. Plaintiffs will amend this Complaint to allege

their true names and capacities when ascertained. Upon information and belief, they

are residents of Wayne County, Michigan, and at all relevant times were employed

by the City of Detroit, specifically DPD, as police officers, and acting pursuant to

their authority on its behalf. The individual Doe Defendants are sued in their

individual capacities. The Doe Officers were, at all times relevant to this lawsuit,

deployed by Defendant City of Detroit at the demonstrations, and engaged in the

unconstitutional conduct alleged herein.

                           FACTUAL ALLEGATIONS

              Black Lives Matter: Context of Current Demonstrations

      38.    The pursuit of equal justice under law for Black residents of the City of

Detroit (“Detroit” or “the City”) has a long, storied past. The current demonstrations

against systemic violence and racism are a continuation of Detroit’s history of




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residents rising up to protest egregious mistreatment of Black residents by the City

and its law enforcement.

      39.    More broadly, police violence in America is disproportionately

deployed against Black Americans. The demonstrations at issue in this matter arose

out of some of the most egregious and widely publicized police killings in recent

months and are a continuation of the widespread “Black Lives Matter” protests that

have occurred around the country in response to innumerable police killings over

approximately the past decade.

      40.    In March 2020, Breonna Taylor, a Black woman, was shot eight times

and killed as she slept by three plainclothes Louisville police officers who used a

battering ram to force their way into her home in the middle of the night to execute

a no-knock warrant for two unrelated individuals. The officers then attempted to

cover up Ms. Taylor’s death by filing an incident report stating that she had no

injuries and no forced entry had occurred. They were not punished.

      41.    Breonna Taylor’s death resonated particularly strongly with Detroiters

due to its similarity to the death of Aiyana Stanley-Jones, a seven-year-old African-

American girl who was shot in the head by a Detroit police officer as she slept at her

grandmother’s home on May 16, 2010.

      42.    On May 25, 2020, George Floyd was murdered by Minneapolis police.

Mr. Floyd, a Black man, was arrested after being accused of a non-violent, petty


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offense. For nearly nine minutes, then-Officer Derek Chauvin placed his knee—and

the weight of his body—on Mr. Floyd’s neck as Mr. Floyd lay handcuffed and

pinned to the ground and three other officers stood by. In his dying moments, Mr.

Floyd struggled to breathe, pleaded for mercy, and called out to his deceased mother.

Among Mr. Floyd’s last words were “I can’t breathe.”

      43.    Video footage of George Floyd’s death was widely publicized, and

images of Mr. Floyd and Breonna Taylor joined countless others as symbols of the

ongoing fight for police accountability and equality for Black Americans.

      44.    Against this backdrop of police killings of Black people across the

country, thousands of Americans have joined together in massive nationwide

demonstrations calling for justice and have been consistently met with brutal force

by police.

      45.    Beginning May 29, 2020, hundreds of people in Detroit, including

Plaintiffs, have participated in near-daily demonstrations to peacefully protest police

brutality against Black people in Detroit, as well as nationwide. Plaintiff Detroit Will

Breathe has joined numerous other community organizations in Detroit to organize

marches, rallies, teach-ins, and other events to educate their communities, confront

racism, and demand systemic change.

      46.    Notably, demonstrators have exercised their constitutional rights to

voice their concerns during a global pandemic. Attendees of the demonstrations have


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acted to participate safely by wearing masks, social distancing, and providing

widespread access to hand sanitizer.

      47.    These demonstrations have been overwhelmingly peaceful. However,

Defendants have responded with grossly disproportionate violence. DPD, with the

endorsement of Defendants Duggan and Craig and additional mid-level police

commanders, including Defendant Anouti and Defendant Barr, has arrested

hundreds of peaceful demonstrators and used unnecessary, unreasonable, and

excessive force against hundreds more.

      48.    The weapons DPD has utilized for “crowd control” purposes during

demonstrations, sometimes referred to as “non-lethal” weapons, indisputably have

the ability to injure and cause great bodily harm, and have done so to Plaintiffs and

innumerable other demonstrators. In addition to mass arrests without probable cause,

the types of crowd control weapons and techniques utilized by DPD include the use

of batons, riot shields, officers’ own fists, chemical irritants such as tear gas and

pepper spray, rubber bullets, zip ties, chokeholds, and police vehicles to inflict

unreasonable, unnecessary, and excessive force and deter demonstrators, including

Plaintiffs, from exercising their constitutional rights.




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    Defendants Used Batons, Riot Shields, and Excessive Physical Force to Brutalize
                                   Demonstrators

           49.     On May 29, 2020, the first night of demonstrations in Detroit,

demonstrators gathered outside of DPD’s Third Precinct at approximately 4:00 P.M.

and proceeded to march throughout the downtown area.

           50.     At approximately 6:00-7:00 P.M., police officers accelerated their

vehicles towards demonstrators and stopped suddenly on several occasions,

alarming and intimidating demonstrators.

           51.     At approximately 11:00 P.M., DPD began to deploy chemical agents

including tear gas and pepper spray, riot shields, and batons against the

demonstrators, without audible warning.

           52.     Plaintiff Lauren “Graham” Branch (“G. Branch”) attended the

demonstration as a field medic for the purpose of assisting with injuries caused by

police violence. They1 carried several water bottles and a first aid kit.

           53.     When G. Branch arrived at approximately 10:00 P.M., DPD had

already begun to surround or “kettle” a group of demonstrators in between a parking

structure and a lot for police cars and equipment. The only way to escape the kettle

was through a line of police officers in riot gear.




1
    G. Branch is a transgender person who goes by the pronoun “they.”

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          54.   About half of the group of demonstrators, mostly teenagers and young

adults, attempted to leave by marching up an incline towards the road. As they

progressed, DPD officers in riot gear formed a line to prevent the group from being

able to move in any direction and began to advance upon them while striking their

shields with batons in unison.

          55.   Unknown Doe Officers began to physically push the demonstrators

back, without audible warning, yelling, cheering, and whooping when they struck

one of the young demonstrators and calling the demonstrators “animals.”

          56.   As G. Branch tried to protect the young people by physically placing

their body in between the police and the youth, Doe Officers struck G. Branch

directly in the face with shields three times then shoved them backwards into the

street.

          57.   While on the ground, unknown Doe Officers repeatedly and forcefully

kicked G. Branch all over their body while calling G. Branch a “bitch,” and snarling

“you aren’t even from here.” G. Branch was in extreme pain and could not breathe

as police officers repeatedly kicked their arms, legs, abdomen, and lower back.

          58.   An officer kneeled on G. Branch’s back while another one grabbed for

their arms, screaming “STOP RESISTING!” and “GIVE ME YOUR HANDS!”

despite the fact that G. Branch had gone limp from pain. The pressure to G. Branch’s




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body from the officers on top of them was so intense that G. Branch believed they

were going to die. G. Branch finally uttered “I’m trying!”

       59.    An officer then grabbed their left hand so hard that G. Branch’s pinky

finger was dislocated, handcuffed them, and left them in the street.

       60.    G. Branch then heard an officer growl, “Welcome to Detroit, bitch!”

directly into their ear.

       61.    When G. Branch was able to sit up and orient themselves with their

surroundings, they realized that the officers had removed their mask with no regard

for the deadly coronavirus pandemic. They saw several other handcuffed

demonstrators whose masks had also been pulled down.

       62.    G. Branch, along with the other handcuffed demonstrators, was left in

the street for approximately one hour as the police rounded up more demonstrators

and brought them back. While they waited, another officer took G. Branch’s water

bottles and threw them with such force that one exploded against the concrete.

       63.    Police eventually loaded the group of handcuffed demonstrators onto a

bus. G. Branch was sent onto the bus, then removed. It soon became clear that

detained people perceived to be women, who were predominantly Caucasian, were

being removed from the bus and ticketed and released, while detained men, who

were predominantly Black, were kept on the bus.




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      64.    The officers grouped G. Branch with the female demonstrators despite

the fact that G. Branch is transgender and does not identify as a woman.

      65.    The officers led G. Branch and four female demonstrators to a garage

and issued G. Branch a Disorderly Conduct misdemeanor ticket that had been

prepared in advance -- the officers merely filled in G. Branch’s name and address.

An officer then called for another officer to “unleash” G. Branch, and threatened that

if they were arrested again, they would be facing felony charges.

      66.    That night, DPD stalked the remaining demonstrators throughout the

streets of Detroit, launching tear gas at small groups of fleeing demonstrators, and

arrested approximately 60 people.

      67.    Despite this show of force by DPD, hundreds of residents of Detroit

and the surrounding area returned the next day to continue the demonstrations.

However, G. Branch was not among them. The events of May 29, 2020 had a

significant emotional effect on G. Branch and have deterred them from attending

subsequent demonstrations and exercising their First Amendment rights. G. Branch

has not attended a demonstration since.

      68.    DPD again responded to the demonstrators with weaponry including

tear gas, pepper spray, flash grenades, and rubber bullets, without audible warning.




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        69.      On May 31, 2020, Defendant Duggan declared a state of emergency

and implemented a citywide curfew of 8:00 P.M. in an attempt to deter and silence

the demonstrators.

        70.      Plaintiff Lillian Ellis2 (“L. Ellis”) attended the demonstration on May

31, 2020.

        71.      After marching around the city, the demonstrators stopped at the Detroit

Police headquarters at the intersection of Third Street and Michigan Avenue at

approximately 7:00 P.M.

        72.      As the peaceful demonstration concluded, L. Ellis witnessed DPD Doe

Officers suddenly advance on demonstrators with no audible warning or discernible

provocation and launch tear gas into the crowd. No demonstrator had approached or

threatened police in any way.

        73.      L. Ellis attempted to avoid the cloud of tear gas and DPD officers as

they advanced upon the demonstrators. L. Ellis was standing off to the side, away

from the larger group, when a number of Doe Officers accosted them. L. Ellis had

not approached or provoked any officers.

        74.      A Doe Officer pushed L. Ellis to the ground and zip tied their hands

behind their back, then pulled them up and dragged them to a DPD vehicle.




2
Plaintiff L. Ellis uses the pronouns “they” and “them.”

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      75.    Doe Officers placed L. Ellis with a group of women in the police

vehicle for an unknown amount of time as they were taken to an unknown location

that turned out to be the basement of Little Caesar’s Arena. During this time, L. Ellis

and the others had their hands zip-tied behind their backs and were unable to

reposition their protective face masks, which Doe Officers had removed or pulled

down, again without regard for the deadly pandemic.

      76.    L. Ellis, along with many others, was eventually transported to the

Detroit Detention Center, then released without their phone or a way to get home.

      77.    The demonstrations continued, Plaintiffs continued to participate along

with hundreds of others, and Defendants continued to brutally beat demonstrators.

      78.    On July 10, 2020, Detroit police shot and killed Hakim Littleton, a

young Black man. The demonstrations grew to demand justice for Mr. Littleton.

      79.    Plaintiff L. Brennan attended the demonstration on July 10, 2020. When

she arrived at around 4:15 P.M., she was near a group of approximately 15-20 DPD

officers; after about thirty minutes, they were joined by a number of additional DPD

officers wearing helmets and carrying shields and batons, including Defendant

Officers Hornshaw and Erard.

      80.    With no audible warning to disperse, the second group of DPD officers

began to approach the demonstrators, banging their batons on their shields in unison

in a frightening and intimidating manner.


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      81.    When the DPD officers reached the demonstrators, they immediately

attacked, beating demonstrators with their batons.

      82.    Demonstrators did not engage in any provocation prior to the attack. As

on the previous days, demonstrators merely stood together, with the situation safe,

contained, and under control, until the police officers pounced on them.

      83.    Defendant Officer Erard ran into the crowd and intentionally struck L.

Brennan on her forehead with her baton, gritting her teeth as she did so.




      84.    Defendant Erard then shoved L. Brennan to the ground and began to

strike another demonstrator in the back of the head.

      85.    L. Brennan got back to her feet and pulled the other demonstrator out

of the crowd and attempted to flee. Both L. Brennan and the other demonstrator had

gotten pepper spray in their eyes during the police-initiated melee, presumably

sprayed by another officer.



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      86.   L. Brennan later rejoined the demonstration and approached Defendant

Erard to demonstrate the severity of her injuries. Defendant Erard merely laughed.

      87.   L. Brennan experienced headaches, dizziness, clumsiness, and

confusion after Defendant Erard struck her. She sought medical attention after

approximately five days of continuous headaches and was diagnosed with both a

concussion and a hematoma on her arm where Defendant Erard had hit her.




      88.   Plaintiffs also observed Defendant Hornshaw beating and brutalizing

demonstrators with excessive and unnecessary force on July 10, 2020.




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      89.    Plaintiff Olivia Puente also attended the demonstration in response to

the death of Hakim Littleton on July 10, 2020.

      90.    Upon her arrival, O. Puente watched as a group of police in riot gear

advanced upon the demonstration at approximately 4:00 P.M.

      91.    Like L. Brennan, O. Puente was unarmed, not engaging with police,

and not refusing to comply with any audible police commands when she was

attacked by Defendant Erard. Defendant Erard beat O. Puente over the head with her

baton, striking O. Puente’s left temple twice, and used her shield to push and shove

O. Puente backwards.

      92.    O. Puente fell backwards and saw an arc of pepper spray descending

from above. The spray covered O. Puente’s face, causing a painful burning sensation

in her eyes, nose, and mouth.

      93.    O. Puente scrambled to escape the chaos and avoid further injury. She

subsequently experienced concussion symptoms, including a consistent headache

that lasted for days, nausea, difficulty sleeping, confusion, forgetfulness, and an

intense sensitivity to light and sound.

      94.    Plaintiff Iman Saleh also attended the demonstration on July 10, 2020.

I. Saleh had attended demonstrations on a regular basis since they began in May

2020. Like other Plaintiffs, I. Saleh had already been beaten, pepper sprayed, and

tear gassed by Defendants on multiple occasions by July 10, 2020.


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      95.    Approximately 20 minutes after I. Saleh’s arrival, DPD officers in riot

gear began to push and shove demonstrators backwards, beat them with batons, and

trample on those who fell to the ground.

      96.    As I. Saleh attempted to avoid the wave of police violence, an unknown

Doe Officer struck I. Saleh on her right hip with a baton with such force that I. Saleh

buckled and fell to the ground.

      97.    Other demonstrators were able to quickly remove I. Saleh from the

crowd and transport her to the hospital, where her treating physicians determined

that her pelvis had been fractured. I. Saleh’s treating physician instructed her that

her injury would take several months to heal and not to walk again until she could

do so without pain.

      98.    Plaintiff Jazten Bass (“J. Bass”) also attended the demonstration on July

10, 2020, as he had on a near-daily basis since June 2, 2020.

      99.    As police officers converged upon the demonstrators, a Doe Officer

approached J. Bass, striking his riot shield with his baton and shouting “COME

ON!” in an attempt to antagonize and provoke J. Bass.

      100. When that attempt failed, the Doe Officer slammed his riot shield

directly into J. Bass’s face two consecutive times. Like the other Plaintiffs, J. Bass

was unarmed, had not responded to the officer’s provocations, and posed no threat

to the officer or anyone else at the time of the attack (or any other time).


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      101. Plaintiff Tristan Taylor (“T. Taylor”) also attended the demonstration

on July 10, 2020, as he had on a near-daily basis since May 29, 2020.

      102. After advancing upon the demonstrators, DPD officers threw T. Taylor

to the ground, where a Doe Officer intentionally kicked T. Taylor’s head and

trampled over him. T. Taylor was unarmed, subdued, and posed no threat to the

officer or anyone else at that or any other point in time.

      103. The Doe Officer then struck Plaintiff T. Taylor in his abdomen with the

tip of his baton, knocking the wind out of T. Taylor as he lay helpless on the ground.

      104. On August 22, 2020, Plaintiff Detroit Will Breathe organized a peaceful

sit-in in downtown Detroit at the intersection of Woodward and John R -- a public

intersection where groups frequently congregate. For example, Detroit sports fans

gather there on a regular basis to celebrate their teams’ victories (or mourn their

losses).

      105. Approximately 100 demonstrators, including Plaintiffs T. Taylor, J.

Bass, N. Wallace, I. Saleh, L. Rosen, O. Puente, M. Henige, A. Nahabedian, C.

Arnold, and A. Anest, were present at the gathering, which attendees described as

“relaxed,” “jovial,” “festive,” and “like a block party.” Participants danced, blew

bubbles, played music, read books, and chatted with one another.

      106. The relaxed and jovial atmosphere was destroyed when Defendants

once again sent a number of officers in riot gear to attack the group. Demonstrators


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did not engage in any provocation prior to the attack. As on the previous days,

demonstrators merely stood together, with the situation safe, contained, and under

control, until the police officers pounced on them.

      107. The officers charged into the crowd, deployed chemical weapons

(described infra), and began tackling demonstrators to the ground and beating

demonstrators with their batons, shields, and fists.

      108. Defendant Stephen Anouti was observed directing and instructing DPD

officers as they attacked the demonstrators.

      109.   Plaintiffs observed DPD officers aiming for demonstrators’ knees with

their batons to incapacitate demonstrators and prevent them from marching in future

protests.

      110. DPD officers attacked demonstrators (including Plaintiffs), legal

observers, members of the press, and bystanders. Officers beat multiple people so

severely that they had to be hospitalized.




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      111.   One bystander (pictured below), who lives on Woodward Avenue,

simply opened his front door to provide respite to demonstrators as they dispersed.

Multiple Doe Officers seized him, held him down, punched him in the face over ten

times (leaving him with two black eyes) and arrested him.




      112. Plaintiff Alexander Anest (“A. Anest”) attended the demonstration on

August 22 as a volunteer street medic; he carried first aid supplies and wore a red

cross emblazoned on his clothing and helmet.

      113. Not long after the DPD officers rushed into the crowd, A. Anest

observed three officers violently tackling another street medic; one appeared to grab

her in a chokehold and threw her to the ground.

      114. As A. Anest tried to approach the fallen medic to offer help, a Doe

Officer struck A. Anest’s back with his baton several consecutive times with an

extreme amount of force, knocking him to the ground.

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      115. A. Anest was blinded with pain as the Doe Officer dragged him

approximately fifteen feet across the pavement, handcuffed him, and tossed him to

the curb with several other arrestees.

      116. A. Anest begged the DPD officers to call an ambulance, but they

ignored him. One ambulance had already arrived, but the DPD officers refused to

permit the EMT to examine A. Anest, saying that they had already done so – which

was a blatant lie.

      117. Eventually, A. Anest was able to pull his cell phone out of his pocket

and dial 911 himself. But before he could complete the call, a Doe Officer took the

phone and hung up.



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      118. After some more time, the officers placed A. Anest and the others in a

van, then transferred them to a bus full of other arrestees, again with no regard for

social distancing or masks during the global COVID-19 pandemic.

      119. Only after the other medics insisted that A. Anest needed immediate

medical attention did the police finally call an ambulance.

      120. When the ambulance arrived, the police made A. Anest wait for another

hour for an officer to accompany him to the hospital. That officer never arrived, so

the police finally released A. Anest at approximately 3:30 A.M. – three hours after

he had been beaten.

      121. A. Anest was lost, disoriented, and in severe pain. Other demonstrators

found him and drove him to the emergency room at approximately 4:00 A.M.

      122. A. Anest suffered severe injury as a result of the Doe Officer’s attack,

including being hospitalized with a broken rib, a collapsed right lung, and a tube in

his chest (pictured below).




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                 Defendants Fired Rubber Bullets at Demonstrators

       123. Rubber bullets (also referred to as baton rounds), despite their less-

lethal-sounding name, are often composed of a metal core and thin polymer coating

or hardened plastic. They are significantly larger than average bullets and

indisputably have the capacity to cause serious and permanent injury.3




3
 https://www.thecut.com/2020/06/rubber-bullets-are-not-rubber.html;
https://www.forbes.com/sites/davidhambling/2020/06/08/the-deadly-truth-behind-rubber-
bullets/#2c5e0ae21f8a



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      124. Defendants shot rubber bullets at fleeing demonstrators beginning on

May 29, 2020, and on multiple occasions since.

      125. Plaintiff A. Nahabedian attended the demonstration on May 31, 2020.

As the demonstration reached DPD Headquarters, A. Nahabedian witnessed a line

of police officers wearing gas masks and holding zip ties, pistols, and rifles.




      126. As demonstrators kneeled and chanted peacefully, posing no threat of

danger whatsoever, the police suddenly advanced and began to beat and pepper

spray demonstrators. Demonstrators did not engage in any provocation prior to the

attack.

      127. Four unknown Doe Officers approached A. Nahabedian as she knelt on

the ground, posing no threat to any officer, and lifted her up, one officer holding

each of her arms and legs, then dropped her back to the ground.

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      128. A. Nahabedian was then surrounded on three sides by lines of Doe

Officers. Defendants deployed tear gas, which engulfed A. Nahabedian.

      129. Next, Doe Officers approached A. Nahabedian from behind, shouting

at her to back up. A. Nahabedian attempted to comply, but a Doe Officer used his

shield to shove A. Nahabedian with an unnecessary amount of force, causing her to

fly forwards and up into the air and lose her footing. The Doe Officers shoved A.

Nahabedian forward in this manner approximately four times, causing her to sustain

bruises to her shoulders and numbness in her left hand.

      130. A. Nahabedian was eventually able to disperse from this group of

officers and escape the cloud of tear gas. However, she and another handful of

demonstrators were then approached by officers who launched tear gas canisters

directly at them—despite the protest having disintegrated and demonstrators fleeing

in different directions.

      131. As A. Nahabedian attempted to flee the cloud of tear gas, she was

suddenly and without warning struck above her left breast with a rubber bullet.

      132. For the next several hours, A. Nahabedian walked around the city of

Detroit in an attempt to return to her car while avoiding police, who continued to

hunt down, beat, arrest, and indiscriminately fire tear gas, rubber bullets, and other

projectiles at fleeing demonstrators.




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      133. A. Nahabedian was alone, terrified, and in a great deal of pain from the

beatings, tear gas, and rubber bullet. After eventually reaching safety, she was unable

to stand up straight for several days; could not cough without doubling over in pain

for a week; and had bruises on her shoulder and numbness in her hand for days. The

rubber bullet had torn her skin and pierced the tissue between her skin and ribs,

causing the sensation of cracked ribs and a painful, swollen lump that lasted over

two months.




      134. Since May 31, 2020, A. Nahabedian has experienced anxiety, panic

attacks, and difficulty sleeping on a regular basis as a direct result of the trauma

caused by Defendants’ actions.




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         135. On July 30, 2020, felony assault charges were issued against DPD

officer Daniel Debono after he openly fired rubber bullets at three journalists without

provocation. All three suffered injuries.4

                       Defendants Used Chokeholds Against Demonstrators

         136. Plaintiff Nakia Wallace attended the July 10 demonstration in response

to the death of Hakim Littleton. As a member of Detroit Will Breathe, N. Wallace

has organized and participated in the demonstrations on a regular basis since they

began in May and had already been detained, beaten, pepper sprayed, tear gassed,

and arrested.

         137. On July 10, 2020, N. Wallace witnessed a group of DPD officers rush

into the crowd and begin to beat, detain, and arrest demonstrators without

provocation.

         138. N. Wallace witnessed several Doe Officers detaining a young man. One

Doe Officer pressed his knee on the young man’s neck as others held the young man

down. Reminded instantly of the murder of George Floyd, N. Wallace shouted, “Get

off his neck, get off his neck!”

         139. As officers swarmed around her and shouted at her to move, N. Wallace

stated, “I live here!” A male Doe officer then approached N. Wallace and shouted,

“arrest her!”


4
    https://www.cnn.com/2020/07/21/us/detroit-police-officer-charged-three-journalists/index.html
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      140. Used to this aggressive treatment, N. Wallace placed her hands behind

her back.

      141. A female Doe Officer then approached N. Wallace, screamed “get on

the ground!” and unsuccessfully attempted to trip N. Wallace to cause her to fall to

the ground.

      142. N. Wallace shouted: “I am not resisting.”

      143. The female Doe Officer then grabbed N. Wallace from behind and

slammed her to the ground, placing her in a chokehold.




      144. After holding N. Wallace in a chokehold for some time, pulling her

head back, the Doe Officer snatched N. Wallace’s keys and wallet and left.




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      145. Another Doe Officer in plainclothes, wearing blue jeans and a blue shirt

bearing the emblem “Detroit” in the shape of a gun (pictured infra handcuffing

Plaintiff T. Taylor) then grabbed N. Wallace, pulled her roughly to her feet, and

escorted her up San Juan.

      146. N. Wallace asked him: “Do they pay you enough to defend murderers

and attack demonstrators?” In response, the Doe Officer screamed “Yes they do, and

shut the fuck up before I make you the next victim!”

             Defendants Drove Police Vehicles Into Crowds and Demonstrators

      147. Defendants utilized their police vehicles to assault demonstrators, first

blocking off demonstrators’ path and then driving their vehicles directly into the

crowds. These vehicular assaults have caused physical injury to multiple

demonstrators, including Plaintiff Jazten Bass (“J. Bass”).

      148. On June 28, 2020, Plaintiff J. Bass attended the nightly demonstrations

against racism and police violence, as he had every night for the past month. After a

month of organizing and participating in demonstrations, Mr. Bass, too, had already

been detained, beaten, pepper sprayed, tear gassed, and arrested on multiple

occasions.

      149. On June 28, DPD continued their attempts to silence the demonstrators

by driving through the crowd (even hitting one biker) and attempting to unplug

sound systems.


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      150. Towards the end of the demonstration that night, J. Bass noticed five

police vehicles blocking the demonstrators’ route back to Patton Park, where the

group had parked their cars and began their march. With no choice but to make their

way back to Patton Park despite the roadblock, demonstrators marched down Vernor

towards the DPD vehicles so they could end their demonstration and go home.

      151. As the demonstrators walked alongside the vehicles, two Doe Officers

(pictured below) began to slowly and simultaneously drive their SUVs through the

group without provocation and without making an announcement asking

demonstrators to disperse to allow the vehicle to pass.




      152. About 30 demonstrators, including J. Bass, who was at the front of the

group carrying a microphone, had passed the DPD vehicles when J. Bass turned

around and saw a DPD vehicle hit a demonstrator from behind and cause the




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demonstrator to roll onto the hood of the vehicle. Shocked and concerned, J. Bass

stopped marching.

       153. The DPD vehicle continued to accelerate and then hit J. Bass, who had

no choice but to try to roll onto the hood of the vehicle to avoid being completely

run over, along with the other demonstrator. The vehicle hit approximately 4-5 other

demonstrators, who were either thrown to the ground or forced to jump out of the

way.

       154. The Doe Officer driving the DPD vehicle then slammed on the gas,

almost running over the head of another demonstrator who had been thrown to the

ground, jerking the car forward, and causing J. Bass and the other organizer to spin

wildly on the hood of the vehicle.

       155. J. Bass grabbed the grill on the front of the vehicle to avoid being

thrown to the ground and run over and held on as the driver of the vehicle continued

to drive, alternating accelerating and braking, causing the DPD vehicle to jerk back

and forth. J. Bass was eventually able to roll off the side of the vehicle, slamming

into the ground and sustaining scrapes and bruises to his knee and hip.




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      156. J. Bass posed no immediate threat to the officers or others to warrant

the use of deadly force by the officers.

      157. The DPD officers who ran over J. Bass were followed in a second

police vehicle by Defendant Hornshaw, who also drove through the crowd of

demonstrators.

      158. Defendant Craig later publicly claimed that J. Bass and the other

organizer had “damaged” the police vehicle, despite the overwhelming video

evidence to the contrary.

       Defendants Deployed Chemical Irritants to Injure and Deter Demonstrators

      159. Since the demonstrations began, Defendants have deployed chemical

irritants against demonstrators, including tear gas and pepper spray, both by

targeting specific protesters with handheld devices and by launching canisters of



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chemical irritants into a crowd, releasing the irritants indiscriminately in every

direction.

       160. The Sixth Circuit has recognized the significant damage caused by

irritants such as tear gas: the gas “burns the face [and] nostrils, restricts breathing

passages, and causes blindness. It causes a burning sensation that causes mucus to

come out of the nose, and involuntary closing of the eyes, a gagging reflex, and

temporary paralysis of the larynx.” United States v. Mosley, 635 F.3d 859, 862 (6th

Cir. 2011) (internal quotation marks and citations omitted).

       161. Not only is tear gas painful, it can be lethal. High-dose exposure in an

enclosed space can “lead to the development of airway edema, non-cardiogenic

pulmonary edema, and possibly respiratory arrest.5” Exposure can trigger a fatal

asthma attack and increases the risk of developing acute respiratory illnesses.6 In

1993, the United Nations General Assembly banned the use of tear gas in warfare

due to the severity of its adverse health effects.

       162. The use of chemical irritants during the ongoing novel coronavirus-19

(COVID-19) pandemic creates additional risks for those exposed. By design, the

incapacitating effects of tear gas and pepper spray cause immediate increased nasal


5
  See Toxic Syndrome Description, Riot Control Poisoning, Centers for Disease Control and
Prevention, https://emergency.cdc.gov/agent/riotcontrol/agentpoisoning.asp.
6
  Joseph J. Hout, et al., o-Chlorobenzylidene Malonotrile (CS Riot Control Agent)
Associated Acute Respiratory Illnesses in a U.S. Army Basic Combat Training Cohort, 179
Military Medicine 7:793 (2014),
https://academic.oup.com/milmed/article/179/7/793/4259353#101149356.
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secretions, eye irritation, coughing, spitting, sneezing, and/or vomiting. Coughing,

spitting, vomiting, and rubbing eyes all spread respiratory droplets and bodily fluids

that carry viruses.

      163. Defendants have subjected each and every Plaintiff, and hundreds of

other demonstrators, to both tear gas and pepper spray on multiple occasions,

including on May 29, May 30, May 31, June 1, June 2, July 10, 2020, and August

22-23, 2020.

      164. On at least one day (June 2, 2020), DPD teargassed demonstrators after

preventing them from dispersing and ensuring they had no means to escape.

      165. On July 10, 2020, Plaintiff M. Henige attended the demonstration after

the death of Hakim Littleton at the hands of Detroit police.

      166. Like other Plaintiffs, M. Henige witnessed a line of DPD officers in riot

gear converge upon the demonstration without provocation, pushing down

demonstrators with their clubs and shields.

      167. Defendant       Stephen    Anouti     was    observed     pepper-spraying

demonstrators who had not engaged in any provocation.

      168. Doe Officers knocked M. Henige to the ground, with her head hitting

the pavement. Once on the ground, she was trampled by several Doe Officers as she

screamed for her life.




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      169. M. Henige was eventually lifted up by another demonstrator; however,

she had severe head trauma and was experiencing blurred vision.

      170. Next, M. Henige attempted to take a photograph of the Doe Officers’

badges. At that point, a Doe Officer charged into the crowd of people and shoved

her aside again with his shield.

      171. Shortly after, the DPD officers began firing tear gas into the crowd. M.

Henige was trapped and inhaled the tear gas heavily.

      172. Once the DPD officers dispersed, M. Henige dry heaved. She continued

to experience headaches, nausea, vomiting, and blurred vision after leaving the

demonstration.

      173. M. Henige rested for four days, but the symptoms only intensified. She

visited Detroit Receiving Hospital where she was diagnosed with a post-traumatic

concussion and a closed head injury. Her treating physicians provided a shot of

Toradol for the pain, Prochlorperazine for the nausea, and a Benadryl to help offset

any jitters that may come from the Toradol, and prescribed prescription-strength

Tylenol and anti-nausea medication.

      174. M. Henige’s treating physician instructed her to make an appointment

with a neurology clinic. There, M. Henige was prescribed Gabapentin, an anti-

seizure medication, because she was still suffering from severe headaches and




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migraines. As of the date of this filing, she is required to attend follow-up

appointments to determine the full extent of her head injuries.

      175. M. Henige also experienced abnormal heavy menstrual bleeding and

spotting for approximately 30 days straight immediately after her exposure to tear

gas, and has had irregular or nonexistent periods since.

      176. On August 22, 2020, Defendants again deployed tear gas and pepper

spray against approximately 100 demonstrators without issuing an audible warning

to disperse.

      177. Plaintiff Caylee Arnold (“C. Arnold”) attended the demonstration on

August 22, 2020.

      178. C. Arnold was standing by, not approaching, speaking to, or engaging

with any police officers in any way, when an officer shoved her from behind with

his riot shield. C. Arnold put her hands in the air and shouted, “I am leaving” and “I

am walking away.”

      179. Despite C. Arnold clearly trying to walk away and not approaching or

threatening anyone, the officer began to beat her with his baton.

      180. Multiple Doe Officers then tackled C. Arnold, threw her to the ground,

and handcuffed her hands behind her back.

      181. A Doe Officer then sprayed C. Arnold directly in her face with pepper

spray as she was completely subdued by multiple officers holding her down – a


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blatantly punitive and unnecessary use of a dangerous chemical agent. C. Arnold’s

mask and goggles were completely filled with pepper spray; she gagged and was

unable to see or breathe.




      182. As C. Arnold lay on the ground in agony, she heard the Doe Officers

laughing and saw them smiling, high-fiving, and hugging one another. In her own

words, the officers looked at C. Arnold and the other arrestees “like they were the

predators and we were the prey.”

       Defendants Deployed a Long Range Acoustic Device (LRAD) to Injure and
                               Deter Demonstrators

      183. On June 2, 2020, Defendants utilized a Long Range Acoustic Device

(“LRAD”) on demonstrators, including Plaintiffs.




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      184. The LRAD emits a sound referred to as a “deterrent tone” that causes

immediate pain, disorientation, dizziness, and panic and can cause permanent

hearing loss in a matter of seconds.

      185. On June 2, 2020, Plaintiff Lauren Rosen attended the nightly

demonstrations. The group of demonstrators marched on Gratiot Street, a public

street, at approximately 8:00 P.M.

      186. As the demonstrators marched down Gratiot, police surrounded them

from all sides, kettling the demonstrators to prevent their escape.

      187. L. Rosen could not clearly hear any audible warning to disperse or any

comments which could be conceived as a warning an LRAD Sound Cannon would

be deployed.

      188. DPD officers were again dressed in riot gear and carrying shields and

batons. Further, they were accompanied by armored vehicles.

      189. The officers who had kettled L. Rosen and other demonstrators

approached the demonstrators, striking their shields with their batons in unison. As

L. Rosen linked arms with other demonstrators to form a protective circle, DPD

deployed the LRAD, or sound cannon.

      190. L. Rosen was exposed to the LRAD’s sound for several minutes. By

the time the police reached the demonstrators, she was in severe discomfort as the




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LRAD’s sound radiated throughout her body; she was very dizzy and nauseous and

could no longer remain standing, causing her to tumble backwards and fall.

      191. From the ground, L. Rosen watched as DPD officers then approached

her and other demonstrators and began to beat, detain, and arrest those around her,

despite the fact that they posed no threat whatsoever to officers. In fact,

demonstrators chanted in unison: “We do not approach” as they stood together and

did not approach the officers.

      192. Next, L. Rosen attempted to help another demonstrator off the ground.

      193. A Doe Officer grabbed L. Rosen roughly by her left arm and pulled her

aside, bruising her and causing her to fall to the ground again. As she attempted to

get back up, another Doe Officer grabbed her by the shirt and arm and threw her

back down to the ground, then screamed at her to “GET UP!”

      194. L. Rosen assumed a fetal position in an attempt to protect herself, but

to no avail; a male Doe Officer stomped on her right foot and then grabbed L. Rosen

around her chest and torso, groping her breasts in the process, while yelling “WHY

DIDN’T YOU JUST LEAVE?”

      195. Still disoriented from the LRAD, and terrified by the sounds of

demonstrators screaming around her as they too were beaten and arrested, L. Rosen

began to cry. The male Doe Officer eventually left, and L. Rosen was able to leave




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the scene, as the officers had instructed demonstrators to do, and reach a place of

relative safety.

        196. For approximately two weeks after June 2, 2020, L. Rosen experienced

severe vertigo, dizziness, nausea, tinnitus, and difficulty eating, sleeping, and

hearing as a direct result of Defendants’ actions; she lost a significant amount of

weight as a result. As of the date of this filing, L. Rosen is still experiencing tinnitus.

She sought medical attention, and her treating physician confirmed damage to her

right ear.

        197. Despite the brutality Plaintiff L. Ellis had experienced at the hands of

Detroit Police on May 31, L. Ellis also attended the demonstration again on June 2,

2020.

        198. Like L. Rosen, L. Ellis was part of the group that marched down Gratiot

at approximately 8:00 P.M. and was surrounded by hundreds of DPD officers.

        199. Upon hearing the LRAD emit its sound, L. Ellis was frightened,

confused, disoriented, and in pain when police officers suddenly charged at them.

        200. L. Ellis witnessed a DPD Doe Officer grab a demonstrator, remove her

goggles, and spray her directly in the face with pepper spray, some of which hit L.

Ellis’s eyes, clothes, and hair, causing stinging pain.




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      201. A Doe Officer then grabbed L. Ellis, dragged them out of the crowd,

zip-tied their hands behind their back, and threw them to the ground, displacing L.

Ellis’s mask in the process.

      202. When L. Ellis asked a Doe Officer to replace their mask, the officer

mocked them, saying, “if you’re worried about coronavirus, why did you come out

here?”

      203. For the second time, L. Ellis was shepherded towards a bus along with

a group of demonstrators many of whom were in pain from too-tight zip ties, pepper

spray, tear gas, and DPD dragging and shoving them around. During this time, the

DPD officers found an opportunity to pose for a “solidarity” photo, portraying

themselves as supportive of the protests, as the arrestees suffered.

      204. The demonstrators were then loaded onto a bus. Many demonstrators’

masks had been displaced or removed by DPD. Because all of the arrestees had their

hands zip-tied behind their back, they had no way to address these conditions.

Approximately 127 people had been arrested.

      205. L. Ellis and the group were transported to Little Caesar’s Arena. When

L. Ellis stated that they did not want to speak to police without an attorney present,

the Doe Officer attempting to speak to them began to shout and scream at them.

      206. After hours in Little Caesar’s Arena, L. Ellis and one other

demonstrator were driven to the Detroit Detention Center.


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      207. Doe Officers left L. Ellis in the car for at least an hour with their hands

zip-tied and, again, the heat inexplicably turned on. As L. Ellis began to sweat, their

sweat interacted with the chemical irritants found in tear gas and pepper spray,

causing a painful burning sensation.

      208. The officers eventually processed and jailed L. Ellis, referring to them

as female and using she/her pronouns the entire time, despite the fact that L. Ellis

does not identify as a woman and does not use those pronouns.

      209. L. Ellis was jailed from approximately 1:30 A.M. to 7:30 A.M. They

were placed into a solitary cell with blood smeared on the walls, a fluorescent

overhead light that could not be turned off, and a sleeping pad with no pillow or

blanket; they could hear other detainees screaming throughout the night.

       Defendants Restrained Demonstrators with Intentionally Tightened Zip Ties
                          to Cause Injury and Deter Protests

      210. Defendants have placed numerous demonstrators, including Plaintiffs

J. Bass and Z. Kolodziej, in zip ties that were intentionally tightened more than is

necessary to immobilize, in a manner that serves no purpose other than to inflict

punishment by causing pain and discomfort.

      211. Plaintiff Zachary Kolodziej attended the demonstration on July 10,

2020. Like other Plaintiffs, he arrived at approximately 4:30 P.M.

      212. Z. Kolodziej was standing at the front of the protest when he witnessed

a line of riot police converge upon the demonstrators, beating their shields with
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batons in unison. The police rammed their shields into Z. Kolodziej and the other

demonstrators at the front line.

      213. As police surrounded and kettled the demonstrators, Doe Officers

pushed Z. Kolodziej back with their shields and beat him back with blows to his

torso and legs. Z. Kolodziej had not approached, provoked, or engaged with police;

he posed no threat to justify their use of force.

      214. A Doe Officer made eye contact with Z. Kolodziej, shouted something

indiscernible, then grabbed Z. Kolodziej’s neck in a chokehold and threw him to the

ground.

      215. Z. Kolodziej stood up, only for the same Doe Officer to seize him

around the neck and throw him to the ground a second time.

      216. When Z. Kolodziej stood up again, multiple Doe Officers tackled him,

ripping his shirt and raincoat off of his body and his mask from his face. Other

demonstrators attempted to pull Z. Kolodziej away from the brutality, but the Doe

Officers seized Z. Kolodziej and threw him to the ground a third time.

      217. A Doe Officer then placed his knee on Z. Kolodziej’s neck, twisted his

arms behind his back, handcuffed him, and dragged him across the road for

approximately 30-50 feet before handing him off to another officer who placed him

in a police vehicle.




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      218. Before transferring Z. Kolodziej from the police cruiser to a bus, the

Doe Officer exchanged his handcuffs for zip ties, and intentionally tightened the zip

ties so as to cut off circulation to Z. Kolodziej’s hands.

      219. Once placed in the tight zipties, the Doe Officer roughly moved Z.

Kolodziej in a manner to place additional force on his wrists.

      220. Defendant Officer Timothy Barr was the arresting officer who issued

Z. Kolodziej’s misdemeanor ticket.

      221. Z. Kolodziej told the officer that the zip ties were too tight, but the

officer told Z. Kolodziej that his circulation was “fine,” ignoring his pleas.

      222. For the next few hours, the police kept Z. Kolodziej on the bus with

several other demonstrators as he bled from a head injury. None of the demonstrators

were given masks or water.



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      223. The officers eventually brought Z. Kolodziej and the others to DPD’s

12th Precinct and processed them to be jailed. When Z. Kolodziej alerted the officers

to his head injury, he was taken to Detroit Receiving Hospital, where a physical

examination revealed that Z. Kolodziej had sustained bruising to his back, sides, and

vertebrae; bloody abrasions to his knees, elbows, and head; and bruising, abrasions,

and a loss of sensation indicating nerve injury to both of his hands.

      224. After receiving medical treatment, officers brought Z. Kolodziej back

to the jail for processing, and released around 3:30 A.M.

      225. Since his arrest, Z. Kolodziej has experienced symptoms of lasting

nerve damage to his right hand, including numbness, pain, and sensitivity. Further,

after Defendants kept him and others on a bus for hours without their protective

masks, Z. Kolodziej experienced symptoms of COVID-19 including headaches,

fatigue, sore throat, fever, coughing, and shortness of breath that have continued for

weeks.

      226. On August 22, 2020, after DPD had arrested over 40 demonstrators,

Plaintiffs, including C. Arnold, T. Taylor, and N. Wallace, witnessed demonstrators

screaming and sobbing in pain as their hands turned blue and gray from

overtightened zip ties.

      227. One demonstrator inexplicably had no less than five zip ties placed

around his wrists and intentionally over-tightened, cutting off circulation to his


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hands. (He had also been beaten so severely that he had to be hospitalized, and

received stitches in his face).

      228. Another demonstrator’s zip ties had been tightened so severely that

multiple arrestees begged and insisted on her behalf that the DPD officers remove

them, and when the officers finally relented, it took several minutes to fit scissors

underneath to cut them off. The demonstrator screamed in pain the entire time.

            Defendants Detained Demonstrators in Punitive, Unnecessary, and
                                 Torturous Conditions

      229. In addition to the punitive, unnecessary, and torturous conditions of

Plaintiff L. Ellis’s detention in a police cruiser and jail and Plaintiff Z. Kolodziej’s

detention in tightened zip ties, described above, Defendants arrested and detained

demonstrators, including Plaintiffs T. Taylor and J. Bass, on repurposed buses with

the windows up and the heat turned on while the outside temperature was greater

than 90 degrees.

      230. Plaintiff T. Taylor, a publicly recognized protest leader, was one of the

first demonstrators to be arrested without probable cause on June 2, 2020. After his

arrest, DPD officers placed T. Taylor in the back of a police vehicle that, in T.

Taylor’s own words, “was like being in a windowless iron box.”

      231. The officers detained T. Taylor in the vehicle, handcuffed with his

hands behind his back, for approximately twenty-five minutes as they steadily filled

the vehicle with other arrestees.
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      232. T. Taylor and the other arrestees felt hot air coming from the vehicle’s

air vents. Defendants had turned on the heat in the windowless vehicle on a 90-

degree summer day.

      233. Defendants also arrested Plaintiff J. Bass, along with over one hundred

other demonstrators, on June 2, 2020. DPD officers had already pepper-sprayed and

tear-gassed the crowd when they tacked J. Bass to the ground and arrested him.

      234. The officers poured water on arrestees, including J. Bass, and then

loaded them onto a bus. Water activates the chemical irritants contained in tear gas,

causing severe and painful stinging and burning of the affected areas.

      235. The officers kept the windows closed and the heat on the bus turned on.

J. Bass and the others were sweating, their skin burning from tear gas, with their

hands cuffed behind their back. The zip ties on J. Bass’s wrists had been intentionally

tightened to cause pain and discomfort; J. Bass asked the officers to loosen the ties,

but they refused.

      236. J. Bass asked the officers to open the windows or turn on the air

conditioning, and the officers refused. The officers detained J. Bass and the others

in these excruciating conditions for approximately one hour before taking them to

Little Caesar’s Arena for processing, where they were left on the bus in the heat

again for another twenty to thirty minutes.




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      237. On August 22, 2020, DPD officers arrested over 40 demonstrators,

including Plaintiffs T. Taylor, N. Wallace, J. Bass, M. Henige, A. Nahabedian, C.

Arnold, and A. Anest.

      238. After holding arrestees in various conditions of injury on buses, as

described above, the officers brought the arrestees to the Detroit Detention Center,

then kept them detained outside in a small fenced-in concrete area until

approximately 8:00 in the morning.

      239. The officers refused repeated requests for water. One officer

approached M. Henige with a bag of snacks, then pulled the bag away from her,

laughing.

      240. One demonstrator showed signs of heatstroke as she slipped in and out

of consciousness and was unable to speak in coherent sentences. The officers refused

the other arrestees’ requests for water and medical attention for her.

      241. Several officers used their cell phones to take photo and video of the

arrestees, laughing to one another and mocking the injured and suffering

demonstrators.

   Defendants Arrested Demonstrators En Masse Without Probable Cause in an
                  Attempt to Silence and Deter Demonstrators

      242. Throughout the demonstrations, DPD has arrested hundreds of peaceful

demonstrators without probable cause, including Plaintiffs T. Taylor, G. Branch, N.

Wallace, J. Bass, L. Ellis, M. Henige, and Z. Kolodziej, as described above.
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       243. As of the date of this filing, DPD has made approximately 500 arrests

of peaceful demonstrators, without issuing an audible warning to disperse prior to

making arrests. Defendants targeted highly recognizable protest leaders and

organizers, including Plaintiffs T. Taylor, N. Wallace, and J. Bass, for repeated

arrests on multiple days.

       244. DPD officers issued cookie-cutter misdemeanor tickets that appeared

to have been filled out in advance. Among the charges brought against demonstrators

were “disorderly conduct” and “loitering.”

       245. DPD purported to arrest many demonstrators for violating the curfew

between May 29-June 2, 2020. However, DPD allowed other people in Detroit, who

were not participating in the demonstrations, to violate the curfew. Further, DPD has

in recent history protected other demonstrators – including at protests led by white

supremacists – rather than subjecting them to unconstitutional violence7.

       246. Plaintiffs did not at any time during any of the demonstrations act

violently or pose any danger whatsoever to DPD officers.

       247. On June 2, 2020, after DPD arrested Plaintiff T. Taylor and detained

him in the punitive conditions described above, plainclothes officers informed him


7
 On June 8, 2019, a protest was held in Detroit by armed Neo Nazis who, among other things,
screamed racist epitaphs and openly urinated on an Israeli flag. Not only did DPD refrain from
any tactics deployed against Plaintiffs, they provided protection to the demonstrators.
https://slate.com/news-and-politics/2019/06/armed-neo-nazis-police-escort-detroit-pride.html
https://www.detroitnews.com/story/news/local/detroit-city/2019/06/11/pride-fest-attendees-blast-
detroit-police-handling-nazis/1418432001/
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that he faced felony charges of “inciting a riot” -- a blatant attempt to silence a protest

leader and shut down the demonstrations.

      248. On July 10, 2020, DPD targeted T. Taylor for arrest a second time

(pictured below). When T. Taylor asked for the name and badge number of the

arresting officer, the officer told him to “shut the fuck up.”




      249. Plaintiff N. Wallace was also arrested on July 10, 2020, along with

many other demonstrators. Defendant Officer Timothy Barr was inexplicably named

as the arresting officer on the misdemeanor tickets issued to T. Taylor, N. Wallace,

Z. Kolodziej, and the majority of arrestees on July 10, 2020.

      250. On August 22, 2020, DPD officers again arrested Plaintiffs T. Taylor,

N. Wallace, J. Bass, A. Nahabedian, M. Henige, and L. Ellis, along with

approximately 40 others, without probable cause and in retaliation for their

continued lawful exercise of their First Amendment right to protest.

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      251. Upon information and belief, large groups of sports fans occupy the

space at the intersection of Woodward Avenue and John R in downtown Detroit on

a regular basis to celebrate the victories (or mourn the losses) of Detroit’s sports

teams. In stark contrast to Defendants’ treatment of Plaintiff Detroit Will Breathe’s

gathering of August 22, 2020, Defendants do not shut down those gatherings, which

do not convey a message of racial justice, nor arrest their attendees, who are

predominantly non-Black.

      252. The curfew and ensuing arrests, as well as DPD’s other tactics

described above, were a blatant attempt to retaliate against Plaintiffs for exercising

their First Amendment rights and to chill and deter the demonstrators’ exercise of

constitutionally protected activity. Persons of reasonable firmness, including G.

Branch, have been, and will continue to be, deterred from joining the demonstrations

after the widely publicized police brutality and arrests described above.

      253. Further, Plaintiffs have heard Doe Officers make racially motivated

remarks to demonstrators, including calling non-Black demonstrators “white trash”

and stating “you’re not even from here” to non-Black demonstrators for participating

in protests supportive of Black equality (despite the fact that over 80% of DPD

officers do not reside in the City of Detroit).




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       254. Defendants’ actions were motivated by retaliation against Plaintiffs and

other demonstrators for exercising their First Amendment rights and specifically in

retaliation for their support of racial justice.

               The City’s Policy, Practice, and Custom (Monell Allegations)

       255. Plaintiffs bring each claim against Defendants Duggan and Craig in

their official capacities pursuant to Monell v. Department of Social Services, 436

U.S. 658 (1978).

       256. The above-described violations of Plaintiffs’ constitutional rights are a

direct result of the City’s policy, practice, and custom of authorizing DPD to use

less-lethal weapons to control and suppress protests.

       257. Defendant Mayor Michael Duggan and Defendant Police Chief James

Craig are final decision-makers with respect to authorization of the use of force

against protesters.

       258. The City, through Defendants Duggan, Craig, and the DPD, has failed

to train its officers in constitutional responses to peaceful demonstrations.

       259. The City has a custom and policy of using excessive force against

peaceful demonstrators; using chemical irritants and LRAD sound cannons to

disperse peaceful demonstrators; kettling lawful assemblies and subjecting kettled

demonstrators to collective corporal punishment and detention without

individualized suspicion; assaulting and/or arresting participants without legal


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justification; conducting seizures lacking in reasonable suspicion and arrests lacking

in probable cause; and using excessive force when detaining and restraining

demonstrators including the use of painful and unnecessary use of restraints such as

zip ties, causing injury. The unlawful crowd control and use-of-force policies and

the long-standing customs and practices of the Defendants do not meet constitutional

requirements.

      260. Plaintiffs are informed and believe and thereon allege that the DPD

officers acted in accordance with orders given by supervisors from the highest

command positions, in accordance with policies and procedures instituted by the

DPD and the City of Detroit. Moreover, the sheer frequency with which such

techniques have been used—at different times, in different places, by different

officers, and after prior publicized uses of such methods—makes it clear that what

occurred to Plaintiffs reflects a pattern and practice of misconduct rather than

isolated incidents.

      261. DPD’s pattern and practice of using excessive force against peaceful

demonstrators has been on display since the demonstrations began, as officers have

repeatedly coordinated with each other to march in formation towards

demonstrators, strike their riot shields with batons in unison in a synchronized

attempt at intimidation, kettle groups of demonstrators to prevent their escape, and

drive straight into demonstrators on multiple occasions.


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      262. Defendants Duggan and Craig have each vocalized support of the Doe

Officers’ decision to hit J. Bass with a police vehicle.

      263. DPD policymakers including Mayor Duggan and Chief Craig have

acted with utter disregard for the constitutional rights of protesters and would-be

protesters by authorizing, both explicitly and implicitly, the use of less-lethal force

against protesters who do not pose any safety threat; by failing to properly train,

supervise, condemn, and discipline DPD officers regarding appropriate use of force

against protesters; and by failing to rectify the DPD’s unconstitutional custom of

using less-lethal force to control and suppress demonstrations.

      264. Defendants Duggan and Craig have received ample notice that the DPD

is using force against protesters to control and suppress demonstrations in the

absence of any imminent threat to safety, including a public tribunal held by Plaintiff

Detroit Will Breathe, widely publicized videos, and firsthand accounts circulated

through the local, state, and international press.

      265. Despite receiving ample notice that DPD officers were using “non-

lethal force” to control and suppress demonstrations in the absence of any immediate

threat to safety, Defendants Duggan, and Craig failed to act to remedy the ongoing

violations of protesters’ constitutional rights by DPD officers, including by failing

to train, supervise, or discipline DPD officers or issue corrective policies to prevent

further violations.


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       266. Defendants have continued to authorize the use of force and weaponry

to control demonstrations even while acknowledging that the majority of protesters

have been peaceful.

       267. Not only has Defendant Craig continuously authorized the use of force

against peaceful demonstrators, he has publicly endorsed the above-described

brutality, stating on July 28, 2020 that he is “just ecstatic over the men and women

in the Detroit Police Department”8 and on August 24, 2020 that he was “very proud”

of the DPD officers.

       268. Also on August 24, 2020, DPD Deputy Chief Todd Bettison stated at a

press conference regarding the brutality of August 22: “To Detroit Will Breathe:

You’re not welcome. Go.”9

       269. As officers brutalized and arrested approximately 40 demonstrators on

August 22-23, 2020, multiple Doe Officers told arrestees that they were “just

following orders” and that the above-described actions were “just orders that they

had to follow.”

       270. As a direct and proximate cause of the conduct described herein, the

named individual Plaintiffs (and countless other protesters) have been denied their


8
 https://www.washingtontimes.com/news/2020/jul/29/james-craig-detroit-police-chief-on-why-
city-isnt-/
9
  https://www.freep.com/story/news/local/michigan/detroit/2020/08/24/detroit-police-chief-
james-craig-black-lives-matter-protests/3431311001/


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constitutional, statutory, and legal rights as stated herein, and have suffered general

and special damages, including but not limited to, physical injuries and bodily harm,

pain, fear, humiliation, embarrassment, discomfort, anxiety, mental and emotional

distress, and other damages in an amount according to proof.

      271. Defendants’ acts were willful, wanton, malicious, and oppressive, and

done with conscious or reckless disregard for Plaintiffs’ rights.

      272. Defendants’ policies, practices, customs, conduct and acts alleged

herein resulted in, and will continue to result in, irreparable injury to the Plaintiffs,

including but not limited to violation of their constitutional and statutory rights.

Plaintiffs have no plain, adequate, or complete remedy at law to address the wrong

described herein. The Plaintiffs were subjected to police violence as described above

at times when they were engaged in peaceful protest and intend in the future to

exercise their constitutional rights of freedom of speech and association by

continuing to engage in such expressive activities in the City of Detroit. Defendants’

conduct described herein has created uncertainty among Plaintiffs with respect to

their exercise now and in the future of these constitutional rights. Plaintiffs therefore

seek injunctive relief from this court to ensure that Plaintiffs and persons similarly

situated will not suffer violations of their rights from Defendants’ illegal and

unconstitutional policies, customs, and practices described herein.




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      273. An actual controversy exists between Plaintiffs and Defendants in that

Plaintiffs contend that the policies, practices, and conduct of Defendants alleged

herein are unlawful and unconstitutional, whereas Plaintiffs are informed and

believe that Defendants contend that said policies, practices, and conduct are lawful

and constitutional. Plaintiffs seek a declaration of rights with respect to this

controversy.

      274. The purpose and effect of the excessive force described herein has been

to restrict, frustrate, and deter protesters from exercising their rights under the First

Amendment to the United States Constitution to peacefully assemble, petition for

redress of grievances, exercise freedom of speech, and exercise freedom of the press,

and the Fourth Amendment to be free from unwarranted seizures by the government.

  Plaintiffs Seek Injunctive Relief because Defendants’ Actions Have Caused and
                              Continue to Cause Harm

      275. Detroit Will Breathe, as well as the individually named Plaintiffs, plan

to assist, plan, participate in, and hold similar events in the future, on their own or in

conjunction with others, and are fearful that the police actions in response to these

and similar protests will be repeated absent injunctive relief to prohibit the practices,

policies, and customs of the DPD that resulted in the unlawful action in response to

the recent protests throughout the City.




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      276. Plaintiffs want to participate in these demonstrations without being

exposed to the excessive force and “non-lethal” weapons regularly deployed by the

DPD against protesters as a method of crowd control.

      277. Plaintiffs fear for their safety from Defendants’ violence because they

have been attacked and injured repeatedly and without warning throughout their

demonstrations.

      278. Given the degree of risk that merely attending a protest presents to

protesters, many would-be protest attendees, including G. Branch, choose not to

participate, or leave earlier than they wish to, for fear that they will not have access

to medical care in the likely event the police hurt them.

      279. If this Court issues an injunction prohibiting Defendants from

continuing the unlawful practices described above, Plaintiff G. Branch would return

to the daily demonstrations.

      280. Plaintiffs bring this action to enjoin the City of Detroit from continuing

to respond to peaceful protest with unconstitutional and indiscriminate force.

      281. Without an injunction restraining their unconstitutional use of force,

DPD will continue to deploy the same abusive and illegal tactics, threatening the

constitutional rights and physical safety of Plaintiffs.

      282. All of the following claims for relief are asserted against all Defendants.




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                                 COUNT I
              First Amendment to the United States Constitution:
                         Free Speech and Assembly
                              42 U.S.C. § 1983

      283. All preceding paragraphs are incorporated by reference

      284. At all relevant times, Defendants have acted—and continue to act—

under color of state law.

      285. Defendants’ above-described conduct violated Plaintiffs’ rights to

freedom of speech, assembly, and association under the First Amendment to the

United States Constitution. Lawful protests that posed no threat were interrupted by

police declaring unlawful assemblies without justification.

      286. In dispersing such assemblies, Defendants repeatedly relied on violence

and excessive force despite the peaceful nature of Plaintiffs’ actions. The DPD’s

tactics and methods would, and in fact did, deter protesters of reasonable firmness

from participating in future protests.

      287. The Defendants’ repeated use of violence and excessive force against

peaceful demonstrators can reasonably be expected to chill a reasonable person from

engaging in activity protected by the First Amendment, and in fact has deterred

demonstrators from participating in future events. Indeed, this has proven to be the

obvious intent of Defendants’ tactics.

      288. Defendants’ policy, practice, and custom of using “non-lethal”

weapons and the types of force described in this lawsuit to control and suppress
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demonstrations is not a reasonable regulation of the time, place, or manner of

Plaintiffs’ First Amendment protected activity.

      289. Defendants have acted with deliberate indifference to Plaintiffs’ First

Amendment rights.

      290. Plaintiffs suffered and will continue to suffer harm as a direct and

proximate result of Defendants’ actions, including but not limited to physical injury

and pain and suffering.

      291. As a direct and proximate result of Defendants’ unlawful actions,

Plaintiffs have sustained injuries and damages including, physical injury, mental

anguish and emotional distress, humiliation and embarrassment, and have incurred

attorney fees.

                                COUNT II
                  Fourth Amendment to the U.S. Constitution:
                      Unreasonable and Excessive Force
                              42 U.S.C. 1983

      292. All preceding paragraphs are incorporated by reference.

      293. At all relevant times, Defendants have acted—and continue to act—

under color of state law.

      294. Defendants’ above-described conduct violated Plaintiffs’ clearly

established rights pursuant to the Fourth Amendment of the United States

Constitution to be free from unreasonable, excessive and arbitrary force and seizures

under color of law.
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      295. The arbitrary and indiscriminate use of force against Plaintiffs and other

peaceful protesters, described in detail above, was excessive and objectively

unreasonable, in direct violation of Plaintiffs’ rights under the Fourth Amendment.

      296. Defendants engaged in the indiscriminate use of “non-lethal” weapons

including zip ties, chokeholds, baton strikes, rubber bullets, teargas, pepper spray,

the LRAD Sound Cannon, and fisticuffs, against peaceful demonstrators who did

not present a physical threat to police officers or any member of the public, contrary

to law.

      297. Defendants deployed these “non-lethal” tactics largely without an

audible prior notice or warning.

      298. No Plaintiffs have been accused of any crimes severe enough to justify

such egregious, and sometimes deadly, force.

      299. In many instances, Plaintiffs were subjected to violent force despite not

being accused of a crime at all.

      300. The Plaintiffs have not posed any reasonable immediate threat to the

safety of any officer nor have Defendants provided sufficient evidence asserting so.

      301. The Defendants were not met with split second decisions as in almost

each incident they were present on the scene observing for a substantial period of

time prior to deploying chemical irritants, the LRAD Sound Cannon, rubber bullets,

and other methods of physical force.


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      302. Defendants intentionally removed the facemasks of demonstrators,

including Plaintiffs, without any purpose beyond increasing the potency of their

chemical weapons and/or to expose them to a deadly virus.

      303. Defendants intentionally hit demonstrators, including Plaintiff J. Bass,

with a police vehicle for the purpose of causing great bodily injury or with willful

indifference to his wellbeing.

      304. Defendants’ attacks were done not to compel Plaintiffs to retreat, but to

injure and punish them on site. Many individuals were attempting to disperse the

scene or helping an injured citizen at the scene. In some cases, Plaintiffs and others

had force inflicted upon them while they were already detained or subdued.

      305. As a direct and proximate result of Defendants’ unlawful actions,

Plaintiffs have sustained injuries and damages including, physical injury, mental

anguish and emotional distress, humiliation and embarrassment, and have incurred

attorney fees.

                               COUNT III
             Fourth Amendment to the United States Constitution:
                      Arrests Without Probable Cause
                              42 U.S.C. 1983

      306. All preceding paragraphs are incorporated by reference.

      307. At all relevant times, Defendants have acted—and continue to act—

under color of state law.



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      308. Defendants detained, seized, handcuffed, arrested, and searched

Plaintiffs’ persons and their personal property despite the lack of any individualized

probable cause or reasonable suspicion that Plaintiffs committed any crime.

      309. Defendants issued “cookie cutter” misdemeanor tickets that had been

filled out prior to the arrests, simply filling in the names of arrestees as they were

rounded up.

      310. The “arresting officers” did not actually witness or assert any facts

describing Plaintiffs’ alleged violations of law.

      311. As a direct and proximate result of Defendants’ unlawful actions,

Plaintiffs have sustained injuries and damages including physical injury, mental

anguish and emotional distress, humiliation and embarrassment, and have incurred

attorney fees.

                                   COUNT IV
              Fourth Amendment to the United States Constitution:
                False Imprisonment/Conditions of Confinement/
                      Failure to Provide Medical Attention

      312. All preceding paragraphs are incorporated by reference.

      313. At all relevant times, Defendants have acted—and continue to act—

under color of state law.

      314. Defendants placed several demonstrators, including Plaintiffs T.

Taylor, L. Ellis, and J. Bass, on repurposed school buses and/or police cruisers for

prolonged periods of time with the windows up and heat turned on during days in
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which the temperature was over 90 degrees without access to bathrooms, water,

food, or medical attention. In some cases, Plaintiffs also still had pepper spray in

their eyes.

      315.    Defendants removed and displaced Plaintiffs’ protective face masks,

exposing them to great risk of contracting the deadly COVID-19 in the midst of a

global pandemic.

      316. Defendants fired tear gas canisters into crowds of non-violent

demonstrators, including Plaintiffs, while preventing them from dispersing.

      317. Defendants have denied or otherwise significantly delayed medical

attention to Plaintiffs while holding them in custody, including A. Anest, who

experienced serious injuries requiring hospitalization.

      318. Conditions of confinement under which Plaintiffs were held violated

their rights to due process of the law, were knowingly and objectively unreasonable,

and were punitive, with no rational relationship to any lawful purpose for which

Plaintiffs were being detained.

      319. Defendants acted with deliberate and reckless indifference towards

Plaintiffs’ health, safety, and medical needs.

      320. As a direct and proximate result of Defendants’ unlawful actions,

Plaintiffs have sustained injuries and damages including physical injury, mental




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anguish and emotional distress, humiliation and embarrassment, and have incurred

attorney fees.

                                  COUNT V
     First, Fourth, Fifth and Fourteenth Amendment to the United States
                                 Constitution:
                  Free Speech and Assembly/Curfew Orders

      321. All preceding and subsequent paragraphs are incorporated by reference.

      322. At all relevant times, Defendants have acted—and continue to act—

under color of state law.

      323. The curfew order was not narrowly tailored, insofar as it suppressed far

more speech, assembly, and other protected First Amendment activity than

necessary to deal with any emergency that was currently in existence.

      324. The imposition of a curfew to the entire City of Detroit which was only

enforced against Plaintiffs and those others who were peacefully protesting racist

violence by law enforcement was not a reasonable regulation of the time, place, or

manner of Plaintiffs’ First Amendment protected activity.

      325. Defendants have acted with deliberate indifference to Plaintiffs’ First

Amendment rights.

      326. Plaintiffs suffered and will continue to suffer harm as a direct and

proximate result of Defendants’ actions, including but not limited to physical injury

and pain and suffering.



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                                   COUNT VI
                           42 U.S.C. § 1981 - Retaliation

      327. All preceding paragraphs are incorporated by reference.

      328. The Plaintiffs have engaged in activity protected by 42 U.S.C. § 1981

when they vocalized, marched, and demonstrated in support of Black people’s rights

to the full access to and equal benefit of all laws, particularly at the hands of law

enforcement personnel.

      329. Defendants, both individually and pursuant to the customs, policies

and/or practices of Defendants City of Detroit, Craig and Duggan, retaliated against

Plaintiffs by utilizing the excessive force and unlawful arrests described within this

Complaint.

      330. Defendants retaliated against Plaintiffs by using both force, ticketing,

and arresting Plaintiffs in a manner completely dissimilar to methods used by DPD

Officers in response to other similar protests that do not directly address the equal

rights of Black citizens to the full and equal benefit of all laws.

      331.    There is no valid explanation for the disparate treatment of Plaintiffs

and other demonstrators other than the fact that Plaintiffs’ message is one that

specifically seeks to protect Black people in Detroit and America from the

disproportionately excessive use of violence and unlawful criminal process by

officers of the law.



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      332. Defendants’ treatment of and egregious actions against Plaintiffs

violate Plaintiffs’ rights under 42 U.S.C. § 1981.

      333. Defendants knowingly acted with malice and/or with reckless

indifference to Plaintiffs’ federally protected rights.

      334. As a direct and proximate result of Defendants’ unlawful actions,

Plaintiffs have sustained injuries and damages including, physical injury, mental

anguish and emotional distress, humiliation and embarrassment, and have incurred

attorney fees.

                                     COUNT VII
                                   42 U.S.C. § 1983
                                   Monell Liability

      335. All preceding and subsequent paragraphs are incorporated by reference.

      336. At all times herein, Defendant City of Detroit, through its Police

Department, supervisors and/or policymakers, established and/or maintained the

following customs, usages, policies and/or practices:

             a) Deploying chemical weapons, including tear gas and pepper spray,

                 against demonstrators without warning or justification;

             b) Deploying LRADs against demonstrators without warning;

             c) Beating, shoving, tackling, and brutalizing demonstrators with

                 batons and riot shields, including aiming for demonstrators’ legs to

                 incapacitate them;


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             d) Using chokeholds to detain demonstrators;

             e) Arresting demonstrators en masse without probable cause;

             f) Detaining demonstrators in intentionally overtightened zip ties and

                 heated police vehicles;

             g) Using police vehicles to run through and over demonstrators; and

             h) Shooting rubber bullets at fleeing demonstrators.

      337. In particular, Defendant City of Detroit, acting through its Police

Department, supervisors and/or policymakers, was on actual notice that its police

officers, including Defendants Anouti, Erard, Hornshaw, Barr, and Does 1-100,

engaged in the above-listed practices, thereby condoning and/or acquiescing in

Defendants Anouti, Erard, Hornshaw, Barr, and Officer Does’ unconstitutional use

of force, arrests, detentions, invasion of First and Fourth Amendment rights, and

retaliatory conduct in violation of 42 USC §1981;

      338. Each of the aforementioned policies, customs, and/or practices was

known to Defendant City of Detroit, and Defendants Craig and Duggan, each acting

in their official capacities, as being highly likely and probable to cause violations of

the constitutional rights of members of the public, including but not limited to

Plaintiffs herein.




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      339. The conduct of the individually named Defendants herein was

committed pursuant to the customs, policies and/or practices of Defendant City of

Detroit.

      340.       Each such custom, policy and/or practice, referenced above, was a

moving force in the violations of Plaintiffs’ constitutional rights, as set forth herein.

      341. DPD policymakers including Mayor Duggan and Chief Craig have

acted with utter disregard for the constitutional rights of protesters and would-be

protesters by authorizing, both explicitly and implicitly, the use of less-lethal force

against protesters who do not pose any safety threat; by failing to properly train,

supervise, condemn, and discipline DPD officers regarding appropriate use of force

against protesters; and by failing to rectify the DPD’s unconstitutional custom of

using less-lethal force to control and suppress demonstrations.

      342. As a direct and proximate result of Defendants’ unlawful actions,

Plaintiffs have sustained injuries and damages including, physical injury, mental

anguish and emotional distress, humiliation and embarrassment, and have incurred

attorney fees.

                                 REQUEST FOR RELIEF

      WHEREFORE, Plaintiffs respectfully request this Court to:

      A.     Enter an injunction restraining Defendants from engaging in the

unlawful and unconstitutional practices described above, including enjoining


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Defendants from using chemical irritants, deploying LRAD sound cannons,

arresting demonstrators without probable cause, placing demonstrators in

chokeholds, restraining demonstrators in dangerously tight zip ties, shooting rubber

bullets at demonstrators, and using batons and riot shields as tools of excessive force;

       B.        Enter a declaratory judgment that Defendants’ conduct detailed herein

was a violation of the rights under the Constitution and laws of the United States and

of Plaintiffs;

       C.        Award general and compensatory damages for Plaintiffs for the

violations of their federal constitutional and statutory rights, pain and suffering, all

to be determined according to proof;

       D.        Award punitive damages as available, pursuant to both 42 U.S.C. §1983

and 42 U.S.C. §1981;

       E.        Award attorneys’ fees and costs pursuant to 42 U.S.C. § 1988;

       F.        Award costs of suit;

       G.        Award pre- and post-judgment interest as permitted by law; and

       H.        Such other and further relief as the Court may deem just and proper.

                                                 Respectfully submitted,

                                                 By: /s/ Jack W. Schulz
                                                 /s/ Amanda M. Ghannam
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                                                 Amanda M. Ghannam (P83065)
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Dated: August 31, 2020




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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

DETROIT WILL BREATHE,
TRISTAN TAYLOR, NAKIA WALLACE,                        Case No.
JAZTEN BASS, LAUREN ROSEN, LAURYN                     Hon:
BRENNAN, AMY NAHABEDIAN, ZACH
KOLODZIEJ, LAUREN BRANCH,
LILLIAN ELLIS, OLIVIA PUENTE,
IMAN SALEH, MARGARET HENIGE,
CAYLEE ARNOLD, AND ALEXANDER ANEST,

            Plaintiffs,
vs.

CITY OF DETROIT, a municipal corporation,
MAYOR MICHAEL DUGGAN, acting in his official
and individual capacities, CHIEF JAMES CRAIG, acting in his official
and individual capacities, OFFICER STEPHEN ANOUTI, SERGEANT
TIMOTHY BARR, OFFICER DAVID HORNSHAW, OFFICER MARIAH
ERARD, and OFFICER DOES 1-100 inclusive,
acting in their respective individual capacities, all jointly and severally,

             Defendants.
__________________________________________________________________/
 Jack W. Schulz (P78078)           GOODMAN HURWITZ & JAMES, PC
 Amanda M. Ghannam (P83065)        Julie H. Hurwitz (P34720)
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 Guild, Detroit/Michigan Chapter   mbrown@goodmanhurwitz.com
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                                   Guild, Detroit/Michigan Chapter
                                   Co-counsel for Plaintiffs
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 Guild, Detroit/Michigan Chapter
 Co-counsel for Plaintiffs
__________________________________________________________________/

                       DEMAND FOR TRIAL BY JURY

      Pursuant to Fed. R. Civ. P. 38 and 39, and to the Eastern District LR 38.1,

Plaintiffs demand a trial by jury on each and every one of their claims at law which

seek compensatory and/or punitive damages.

                                             Respectfully submitted,

                                             By: /s/ Jack W. Schulz
                                             /s/ Amanda M. Ghannam
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Dated: August 31, 2020




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